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                          UNITED STATES BANKRUPTCY COURT
                             NORTHERN DISTRICT OF GEORGIA
                                       ATLANTA DIVISION
 IN RE:                                                   )
                                                          )
                                                          ) Chapter 7
 Amber Smith                                              ) Case No. 22-56207-pmb
                                                          )
                                Debtor                    )
 Select Portfolio Servicing, Inc., as servicer for        )
 U.S. Bank National Association, not in its individual    )
 capacity but solely in its capacity as Indenture Trustee )
 of CIM Trust 2021-NR1                                    )
                               Movant,                       )
 v.                                                          )
                                                             )
 Amber Smith, Debtor                                         )
 S. Gregory Hays., Trustee                                   )
                             Respondents.                    )

                                    NOTICE OF HEARING

                PLEASE TAKE NOTICE that Select Portfolio Servicing, Inc., has filed motion
for relief from stay and related papers with the Court seeking an order on relief from the
automatic stay on Debtor’s real property: at 25 GUM CREEK LANDING OXFORD Georgia
30054.

        PLEASE TAKE FURTHER NOTICE that the Court will hold an initial telephonic
hearing for announcements on the motion at the following number: toll-free number: 833-568-
8864; access code 161 706 9079, at 1:00 p.m. on October 3, 2022, in Courtroom 1202 United
States Courthouse, 75 Ted Turner Drive, SW, Atlanta, Georgia 30303.

        Matters that need to be heard further by the Court may be heard by telephone, by video
conference, or in person, either on the date set forth above or on some other day, all as
determined by the Court in connection with this initial telephonic hearing. Please review the
“Hearing Information” tab on the judge’s webpage, which can be found under the “Dial-in and
Virtual Bankruptcy Hearing Information” link at the top of the webpage for this Court,
www.ganb.uscourts.gov for more information.

        Your rights may be affected by the court’s ruling on these pleadings. You should read
these pleadings carefully and discuss them with your attorney if you have one in this bankruptcy
case. (If you do not have an attorney, you may wish to consult one.) If you do not want the court
to grant the relief sought in these pleadings or if you want the court to consider your views, then
you and/or your attorney must attend the hearing. You may also file a written response to the
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pleading with the Clerk at the address stated below, but you are not required to do so. If you file
a written response, you must attach a certificate stating when, how and on whom (including
addresses) you served the response. Mail or deliver your response so that it is received by the
Clerk at least two business days before the hearing. The address of the Clerk's Office is Clerk,

U. S. Courthouse, Room 1340, 75 Ted Turner Drive, SW, Atlanta, GA 30303. You must also
mail a copy of your response to the undersigned at the address stated below.

         If a hearing on the motion for relief from the automatic stay cannot be held within thirty
(30) days, Movant waives the requirement for holding a preliminary hearing within thirty days of
filing the motion and agrees to a hearing on the earliest possible date. Movant consents to the
automatic stay remaining in effect until the Court orders otherwise.

         If you or your attorney does not take these steps, the court may decide that you do not oppose the
relief sought in the motion and may enter an order granting relief.



        Dated: August 31, 2022




                                                 /s/ Richard B. Maner
                                                 Richard B. Maner
                                                 Counsel for Movant
                                                 GA Bar No. 486588
                                                 180 Interstate N Parkway, Suite 200
                                                 Atlanta, GA 30339
                                                 Phone: (404) 252-6385; Fax: (404) 252-6394
                                                 rmaner@rbmlegal.com
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